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                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF LOUISIANA


   IN THE MATTER OF:                                           CASE NO. 20-10013
                                                               Section "A"
   POWE, ELIZABETH ANN

                                                               CHAPTER 7
   DEBTOR(S)


                               ORDER APPROVING
              TRUSTEE'S PETITION OF DISCLAIMER AND ABANDONMENT

          Let the action by David V. Adler, Trustee as described in his Petition of Disclaimer and

   Abandonment be and the same is hereby approved; and let a certified copy of such petition and

   this Order suffice for all evidential and legal purposes including recordation, when appropriate.




          New Orleans, Louisiana, February 5, 2020.



                                                MEREDITH S. GRABILL
                                                UNITED STATES BANKRUPTCY JUDGE
